      Case 9:17-cv-80948-RLR Document 49 Entered on FLSD Docket 08/26/2021 Page 1 of 2

                                       UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

       Angela E. Noble                                                                                         400 North Miami Avenue, Room 8N09
Court Administrator · Clerk of Court                                                                                     Miami, Florida 33128-7716
                                                                                                                              (305) 523-5100



                                                                August 26, 2021


         Mr. David Jack Wilkinson
         4405 Wahli Drive
         Knoxville, TN 37918

         Christin Marie Russell, Esq.                                           Ellen Steingesser Malasky, Esq.
         Florida Power & Light                                                  Florida Power & Light
         700 Universe Boulevard                                                 700 Universe Boulevard, PO Box 14000
         Juno Beach, FL 33408                                                   Juno Beach, FL 33408-0420

         Richard David Tuschman, Esq.
         8551 W. Sunrise Boulevard, Suite 303
         Plantation, FL 33322

                   In re: David Jack Wilkinson v. Nextera Energy, Inc. et al., Case No. 17-CV-80948

         Dear Messrs. Wilkinson and Tuschman and Ms. Russell and Ms. Malasky:

                   I have been contacted by Judge Robin L. Rosenberg who presided over the above-mentioned
         case.

                 Judge Rosenberg informed me that it has been brought to her attention that while she
         presided over the case, her husband owned stock in Nextera Energy. Her husband’s ownership of
         stock neither affected nor impacted her decisions in this case. However, her husband’s stock
         ownership would have required recusal under the Code of Conduct for United States Judges, and
         thus, Judge Rosenberg directed that I notify the parties of the conflict.

         Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
         following guidance for addressing disqualification that is not discovered until after a judge has
         participated in a case:

                   [A]     judge should disclose to the parties the facts bearing on disqualification as soon as
                   those facts are learned, even though that may occur after entry of the decision. The parties
                   may then determine what relief they may seek and a court (without the disqualified judge)
                   will decide the legal consequence, if any, arising from the participation of the disqualified
                   judge in the entered decision.




            “It is our honor and duty to provide the support necessary to enable the Court as an institution to fulfill its constitutional,
                                         statutory, and societal responsibilities for all who seek Justice.”
Case 9:17-cv-80948-RLR Document 49 Entered on FLSD Docket 08/26/2021 Page 2 of 2



         Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
  argument, the Committee explained “[s]imilar considerations would apply when a judgment was
  entered in a district court by a judge and it is later learned that the judge was disqualified.”

          With Advisory Opinion 71 in mind, you are invited to respond to Judge Rosenberg’s
  disclosure of a conflict in this case. Should you wish to respond, please submit your response on or
  before September 26, 2021. Any response will be considered by another judge of this court without
  the participation of Judge Rosenberg.

                                                              Sincerely,



                                                              Angela E. Noble
                                                              Court Administrator ∙ Clerk of Court




    “It is our honor and duty to provide the support necessary to enable the Court as an institution to fulfill its constitutional,
                                 statutory, and societal responsibilities for all who seek Justice.”
